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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                 ?                 i          1      Hi

                                    Alexandria Division
                                                                                       '       2 T 2019
 SONY MUSIC ENTERTAINMENT,et al.
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                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                       A1.EXA^'DP.'A, V'RGir'LA
                        Plaintiffs,

        V.                                        Civil Action No. I:18cv0950(LO/JFA)

 COX COMMUNICATIONS,INC., et aL,

                        Defendants.



                                             ORDER


        On Friday September 27, 2019, counsel for the parties appeared before the court and

 presented argument on defendants' motion for discovery sanctions. (Docket no. 241). Upon

 consideration of the motion, memorandum in support(docket no. 238), opposition (docket no.

 352), and reply (docket no. 364), and for the reasons stated from the bench, it is hereby

        ORDERED that defendants' motion is denied. This order does not preclude defendants'

 from moving to exclude the Markmonitor evidence on another basis other than discovery

 sanctions.


        Entered this 27th day of September, 2019.
                                                                    Is/
                                                       John F. Anderson
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                                                       United States Magistrate .ludge
 Alexandria, Virginia
